 

Case:15-21114-MER Doce 1-1. Sled Nes e116. Entered:02/12/16 11:58:27 Pagel of 7

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FEDERAL CREDiT UNION

 

 

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Case:15-21114-MER Doc#:18-1 Filed:02/12/16 Entered:02/12/16 11:58:27 Page3 of 7

 

VEHICLE PURCHASE ORDER 6
& SALES AGREEMENT

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@ 3675 Clydesdale Parkway
Loveland, CO 80538

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EAL ~~ 7) Toil Free: 1-877-365-1500
D # TRI-CITY CYCLE www.tricitycycle.com
STOMER ¢3 GIE J BUS. HOME
NAME CARDONA, JEROME PE VAN PHONE 9703924279 PHONE $703864321
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NUMBER NUMBER ITSCLSFE6SF
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MILEAGE MILEAGE 755
TRADE-IN DELIVERY am. 9/8/2014
ALLOWANCE DATE p.m.
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as liquidated damages. The purchaser certifies tha

t he/she is of legal age & hereby acknowledge:
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this purchase orderfsales agreement comprise the entire agreement pertaining to this purchase & no other agreement af any kind, verbal
gnized. Upon failure or refusal of the purchaser to complece this agreement for any reason, ail or part of any cash payments may be retained

THIS AGREEMENT IS NOT VALID UNLESS ACCEPTED BY THE DEALER OR OFFICER OF THE CO

 

# that he/she has read the terms & conditions & acknowledges raceipt of a copy of this purchase

RPORATION. Thank You!

 

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this contract simply because you change your mind, decide the vehicle coses too much, or wish you pad acquire: ifferent vehicle. After you sign below, you may only
Cancel this contract with che agroemenc of the seller or wich legal cause, such as fraud. j

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LARAMIE PLAINS FCU
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LARAMIE, WY 82072-3007

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Laramie Plains Community FCU Account History Print Page: i
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Param: drw-Last-Run DB: live

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One Day no

Member Number 50267 Jeromey Cardona
Type
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Amount .00
From Date 01/91/2014
Thru Date 10/31/2015
By Nate/Draft# Date

 

Tran User Tran Tran Draft Principal Int Fee Tran Current
Code Description mp Date Time Number Amt Amc Amt Amt Balance
354 Transfer Loan Payment - Cre acw 04/06/2015 @:47 AM 232.72 67.28 300,60 15,720.97
384 Transfer Loan Payment - Cre bid 04/04/2015 10:12 AM 136.29 22.96 159.25 15,993.69
354 Transfer Loan Payment - Cre ajk 03/10/2015 1:16 PM 117.93 296.22 45.85 460.00 15,953.69
354 Transfer Loan Payment - Cre acw 01/30/2015 10:16 AM 154.96 308.04 460.00 16,071.62
MLP Mail Loan Payment mwb 02/15/2015 £2:13 BM 391.12 63.98 460.00 16,226.SB8
CPI CGLLATERAL PROTECTION INSUR ser 12/04/2014 10:14 AM 566.00 566.00 16,226.58
354 Transfer Loan Payment - Cre mwb 10/30/2014 1:38 PM 72,60 386.65 459.25 15,660.58
GLD General Ledger Disbursement drw 09/11/2014 3:47 PM 15,733.18 15,733.18 15,733.18
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Case:15-21114-MER Doc#:18-1 Filed:02/12/16 Entered:02/12/16 11:58:27 Page7 of 7

LARAMIE PLAINS

FEDERAL CREDIT UNION

 

Jeromey Cardona
Social Security # XXX-XX-XXXX
2009 Thunder Mountain Spitfire VIN #1T9C1SF669F717279

Payoff as of 10/02/2015
Principle Interest Fees Total
$15,720.97 $1,329.93 $114.80 $17,165.70

365 N Third Street * Laramie, WY * 82072
(307) 745-5365 Phone * (307) 742-0330 Fax

 
